Case 1: 04- -C\/- -01028- .]DT- STA Document 48 Filed 04/20/05 Page 1 of 2 Page|D 32

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PLAlNTIFF,

V. CIVIL ACTION NO. 1-04-1028-T

PEGGY S. HOOPER,

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DEFENDANT. )

MQ ORDER GRANTING MOTION
TO CONTINUE TR]AL

Upon consideration of Plaintifi’s Motion to Continue Trial Setting, and request to
reschedule certain dates in the Scheduling Order entered on July 14, 2005, to a date closer to the
trial setting, the Court finds that the motion is Well taken and should be grantedl

WHEREFORE, it is hereby ORDERED, ADJUDGED and DECREED that the trial of
this matter is reset for November 3, 2005, and the Joint Pretrial Order is due on

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so oRDERED the M gay of April, 2005.
JUDG AMES D. ToDD

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Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
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April 21, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

